Case 2:21-cv-06561-DSF-MRW Document 19 Filed 10/20/21 Page 1 of 2 Page ID #:165
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    5                              UNITED STATES DISTRICT COURT
    6              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    7
    8 MARIA ALVARADO,                            Case No. 2:21-cv-06561-DSF-MRW
    9                 Plaintiff,                 ORDER
                                                 RE STIPULATION TO
  10          v.                                 DISMISS ENTIRE ACTION
                                                 WITH PREJUDICE
  11 TARGET CORPORATION and DOES
        1-10, Inclusive,
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                      Defendants.
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                                                           ORDER RE STIPULATION TO DISMISS
Case 2:21-cv-06561-DSF-MRW Document 19 Filed 10/20/21 Page 2 of 2 Page ID #:166




    1                                         ORDER
    2        Pursuant to the Stipulation to Dismiss Entire Action with Prejudice filed by the
    3 Parties on September 30, 2021, and good cause appearing, the Court hereby approves
    4 the Joint Stipulation and dismisses this action, in its entirety, with prejudice. Each
    5 party will bear its/her own attorneys’ fees and costs. The Court will retain jurisdiction
    6 to enforce the terms of the Settlement Agreement, if needed.
    7        IT IS SO ORDERED.
    8   DATED: October 20, 2021
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                                               Honorable Dale S. Fischer
  10                                           UNITED STATES DISTRICT JUDGE
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                                                                     ORDER RE STIPULATION TO DISMISS
